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                                                          Exhibit A to the Complaint
Location: Glenside, PA                                                                               IP Address: 72.94.179.160
Total Works Infringed: 29                                                                            ISP: Verizon Fios
 Work      Hashes                                                                  UTC        Site          Published     Registered   Registration
 1         Info Hash:                                                              06-21-     Blacked       05-31-2021    06-15-2021   PA0002296925
           8EE948443FBE7B902CACD7BECB7FEF16C06E5747                                2021       Raw
           File Hash:                                                              03:02:54
           15E258694DED57BC6C45BCE2EE94A799DB8994134024375CAFCCBC3B9C4ED9B4
 2         Info Hash:                                                              05-20-     Blacked       05-03-2021    06-15-2021   PA0002296918
           42ECAAEDF5FAE1D20495A16EE7297D12DE2F4692                                2021       Raw
           File Hash:                                                              14:14:11
           2119CF5CC787DA3DCDBFB77F08C539EC3AAA2D732B0F6855457713266E2F89B9
 3         Info Hash:                                                              05-15-     Blacked       06-04-2019    07-17-2019   PA0002188309
           E6683078F639AE7A581BCADF96A49BC808143689                                2021
           File Hash:                                                              12:46:33
           38205F001C261D5FD79FC2A35134BB96F8E549E9C410643AF6D25CD576A53DA6
 4         Info Hash:                                                              05-15-     Blacked       03-18-2019    04-08-2019   PA0002164883
           CE74EDC69A9EE02D7EAEF30B9F3DC7A0FA93CA19                                2021       Raw
           File Hash:                                                              12:46:30
           AD6B67077E3A7384F427669028069434AC296F9CD332D65D172D09396AC3005B
 5         Info Hash:                                                              05-15-     Blacked       08-08-2019    09-17-2019   PA0002216217
           C6AACF8B5EBC7F41C26EBB07A4DABE1287B3C675                                2021
           File Hash:                                                              12:46:29
           2D4D64E994B54F6310EAF6658524F2A7B0F98B62A56F4F9B5A2EE8CC25656EB5
 6         Info Hash:                                                              05-15-     Blacked       11-06-2019    11-15-2019   PA0002211857
           9CED871B3751A3B538A20DB265EBDFF8329EDC22                                2021
           File Hash:                                                              12:37:50
           AAC8C4DFCD4077BE87A12502F7541B94C7A9D0028BEA14D483ADE7D0E3C7A272
 7         Info Hash:                                                              05-11-     Blacked       04-12-2021    04-27-2021   PA0002288983
           44B4AD7A047450E82E78476BCCB6F743AF7FA21A                                2021       Raw
           File Hash:                                                              02:13:48
           E48373889E5E612D0D275BAC65055D7D7DD02A206477BFBFBB7A7BD185C34BDF
 8         Info Hash:                                                              05-11-     Blacked       04-24-2021    04-27-2021   PA0002288981
           07505D1BF57DF4D79F0E6D0C802F273714F82B69                                2021
           File Hash:                                                              02:13:13
           44F977A16AFCEE2BD4C403DBB7510F28AEE06CA03510AAF7793782EF9C9D86CA
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         04-16-     Blacked   03-27-2021   04-27-2021   PA0002288945
       10C91184EF279775EAD44F654BDD1466DEF80FF6                           2021
       File Hash:                                                         02:05:28
       889C75786835EAFDB35672E2E8F6950C938E03AC610088DF4E9CA6F94C243FE8
10     Info Hash:                                                         04-01-     Blacked   03-29-2021   04-14-2021   PA0002286726
       2C6E25DA6922E2C9269378498DA9F33CF6016BF1                           2021       Raw
       File Hash:                                                         16:26:15
       8789678992DCF14336251C54773CBD716197010477909F5BD6930C47A9F234E8
11     Info Hash:                                                         03-17-     Blacked   03-15-2021   03-22-2021   PA0002282515
       1824034C43267AA11198E469DBB79B913395F5FE                           2021       Raw
       File Hash:                                                         20:00:02
       76ACEB0964E0FBDF7535C99F405DC85A8F13DF4C35810F11890C0E5815A50F07
12     Info Hash:                                                         03-13-     Blacked   01-22-2019   03-24-2019   PA0002183202
       E452D23913E053866E31D6D6F92DE54C310DA003                           2021       Raw
       File Hash:                                                         16:04:38
       8DB567512505266F30DBA8F4B04557C917B8116EAC2FCB2C19ABC6570946CFE9
13     Info Hash:                                                         03-10-     Blacked   12-26-2018   02-02-2019   PA0002155307
       3A3DD7C8DBB7E5B223555D26F27B64B7090A3E57                           2021
       File Hash:                                                         21:54:37
       08AD74E95AD3720928E97453FC2F04E16A2221467A2120B727DEE1BA6BF28384
14     Info Hash:                                                         03-10-     Blacked   05-17-2018   06-19-2018   PA0002126644
       AA99615AE6C723CB3050DAC4D48D914E6D5CC02F                           2021       Raw
       File Hash:                                                         21:47:46
       D4777437331085D9F83529F722265DFAD5117630DB84AAE1C0850A6A96FB67CA
15     Info Hash:                                                         03-10-     Blacked   11-08-2018   12-10-2018   PA0002145833
       C57A12522E397BD759570CF121BA12331C01D6AF                           2021       Raw
       File Hash:                                                         17:49:15
       DABBD34ECFDE30CCF6F078604656599120FE37F7421166A4E267C0EA1DE146AC
16     Info Hash:                                                         03-10-     Blacked   04-15-2017   06-15-2017   PA0002037563
       0F35B475E5AA4FFC774BBB038AEDBD8FF112F9E9                           2021
       File Hash:                                                         17:43:07
       0AABDE31D9B400BB1140583BAA96B69BD8A4BDCB7546497ADBD1DD464CCADC52
17     Info Hash:                                                         03-10-     Blacked   06-19-2017   07-07-2017   PA0002070823
       CB9ABC2B058CADE2FA7C0BD6A20558DC0E46EB0D                           2021
       File Hash:                                                         17:26:29
       B8BAD4F22E19F55BFE7855CD52BBBD523C8B7E100DBC961031BA408CF253D9EA
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         03-10-     Blacked   01-07-2018   01-24-2018   PA0002101759
       43AF666D13FBC2B12953D257F6CA4935FC3CD7B5                           2021       Raw
       File Hash:                                                         17:26:27
       F34A0453DC1A135DD6269A22BD1DEC952B15DB34964CB49EF25E5C0E66F57423
19     Info Hash:                                                         03-10-     Blacked   07-09-2017   08-17-2017   PA0002077662
       332FB1FD2E8BD6FFF772C08880C3CD975AD8C8D6                           2021
       File Hash:                                                         17:26:19
       7B12AC7BB1DFC58538E6A9EB2DB4554513A17FC280BEEC45363C7A6C67F69B1C
20     Info Hash:                                                         03-10-     Blacked   01-10-2018   01-15-2018   PA0002070942
       77537958D009D974B9970112342BCA232614C16F                           2021
       File Hash:                                                         17:26:18
       7958C06428989993EA479C3C4034098143E30A268F7B350080BCA34C7DCF369C
21     Info Hash:                                                         03-10-     Blacked   07-04-2017   07-07-2017   PA0002070819
       F8FEB2EE6C17B37610C5B2AE85F0266CB0C5C5BD                           2021
       File Hash:                                                         14:20:45
       8D4F97C4D42441372872A9B38EED6DD63FA53A39C2FEC53A1469AA10F9874617
22     Info Hash:                                                         03-10-     Blacked   07-24-2017   08-11-2017   PA0002046874
       04FD5B9A8A95D8C0810EE1DE07F070A00F411D9A                           2021
       File Hash:                                                         14:02:14
       E9BAF53AA2CE6A4147113363DF29F68BBDE97CAA3DF50BA506884492956E4644
23     Info Hash:                                                         03-10-     Blacked   10-27-2017   11-27-2017   PA0002098016
       B0FE13ECF5F84AEAC8C53B134AC336CFB843CF0D                           2021
       File Hash:                                                         14:00:43
       148BA9ADA1545D34949E4DF1AFFF8CE9F2B342DF3D5C0BE394FFAC173232A158
24     Info Hash:                                                         03-10-     Blacked   01-30-2018   03-01-2018   PA0002079186
       CA0560D2CC3CE0546C8A38C8D7A55089AE430A8E                           2021
       File Hash:                                                         13:55:15
       1181540CAB4FF34D854A6BA2F0E26630D94A1F5AF1833D10805EC32865994DE8
25     Info Hash:                                                         03-10-     Blacked   05-15-2018   06-19-2018   PA0002126654
       400E090F4802B871662C556A82ABFC945392215F                           2021
       File Hash:                                                         13:38:27
       06CDD274AF3FF035D9BC76B6AC2622D0E84012889163E9A5F44B28F003362EC8
26     Info Hash:                                                         03-10-     Blacked   11-08-2017   12-04-2017   PA0002097993
       28F94F30A942C1A433243BEF5077E036528DDAF8                           2021       Raw
       File Hash:                                                         13:32:47
       9DB60297590CCEF74FAC47DFC5C24C06D8EB699EF55819D09377E8E8BAB7D3EA
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         03-10-     Blacked   05-20-2018   07-14-2018   PA0002128469
       6677A34981ADD5ECD31DE1CA597F1FFC7F7D5D77                           2021
       File Hash:                                                         13:29:05
       DF01FAC71E200AADC39775BB000F3DF98A43F715767F321ED62A96342238B9BE
28     Info Hash:                                                         03-09-     Vixen     09-21-2017   10-10-2017   PA0002086168
       C10F1DD79696BB0C387AA22E4F36C8E105F77445                           2021
       File Hash:                                                         21:33:54
       46461D7C5D41223438B18575B0658755E3B31C1289B232747285799B6D08B50D
29     Info Hash:                                                         03-02-     Blacked   02-27-2021   03-08-2021   PA0002280373
       EA3BFEA5DF74FBE89E2AD79CD38A32EF4210BB4F                           2021
       File Hash:                                                         20:46:08
       3088FB2726C52B5325B89F21E46D62070F10301B2B6CA4ECB5EF86D0CA89F650
